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                      UNITED STATES DISTRICT COURT
                       MIDDLE DISTRICT OF FLORIDA
                           FORT MYERS DIVISION

UNITED STATES OF AMERICA

vs.                                                2:05-cr-114-FtM-33DNF

MARIO DOMINGUEZ
_____________________________


                                   ORDER

      This matter comes before the Court pursuant to the Motion for

New Trial (Doc. #123) filed by Dominguez on June 1, 2006.               The

government filed a response (Doc. #128) on June 7, 2006.            For the

reasons stated below, the motion is denied.

I. Background

      Dominguez was indicted, tried and convicted on two counts: (1)

possession with intent to distribute marijuana; and (2) conspiracy

to possess with the intent to distribute marijuana.              Dominguez

raises two grounds as the basis for this motion: (1) Court error in

allowing the presentation of certain Fed.R.Evid.404(b) evidence;

(2) Court error in not including the definition of “marijuana

plant” in the Court’s instructions to the jury.

II. Standard

      A new trial pursuant to Fed.R.Crim.P. 33 may be granted on

either of two grounds.     United States v. Ramos, 179 F.3d 1333, 1336

n.1 (11th Cir. 1999).      First, a new trial may be granted “in the

interest of justice” if the motion is filed “within 7 days after

verdict or finding of guilty or within such further time as the
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court may fix during the 7-day period.”          Fed.R.Crim.P. 33(a) and

(b)(2).    In this case, the Court extended the date to file pre-

trial motions to June 2, 2006 (Doc. #120).        The motion was filed on

June 2, 2006, and therefore the motion is timely.

      A new trial may also be granted on the basis of newly

discovered evidence. Fed.R.Crim.P. 33(b)(1).            To warrant a new

trial on the basis of newly discovered evidence, the defendant must

establish all of the following: (1) the evidence was discovered

after trial; (2) the failure of defendant to discover the evidence

was not due to a lack of due diligence; (3) the evidence is not

merely cumulative or impeaching; (4) the evidence is material to

issues before the court; and (5) the evidence is such that a new

trial would probably produce a different result.          Ramos, 179 F. 3d

at 1336 n.1; United States v. Jernigan, 341 F.3d 1273, 1287 (11th

Cir. 2003).    The Court may not grant a motion for new trial unless

the defendant satisfies all five parts of the above standard.

United States v. Frost, 61 F.3d 1518, 1527 (11th Cir. 1995); United

States v. Reed, 887 F.2d 1398, 1404 (11th Cir. 1989), cert. denied

493 U.S. 1080 (1990).

III. Discussion

      Since Dominguez does not allege any newly discovered evidence,

the Court will analyze the issues under Rules 33(a) and (b)(2).

Pursuant to Rules 33(a) and (b)(2), the standard of review is

whether the “interest of justice” mandates a new trial.           The Court

finds that it does not.
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      As noted, Dominguez raises two issues: (1) Court error in

admitting 404(b) evidence; and (2) Court error in not providing the

definition of marijuana plant in the jury instructions.            The Court

addresses each argument in turn.

      a. 404(b) Evidence

      To determine the admissibility of 404(b) evidence, the Court

uses the following three part test: “(1) the ‘evidence must be

relevant to an issue other than the defendant’s character;’ (2)

there must be sufficient proof so that a jury could find that the

defendant committed the extrinsic act; and (3) ‘the evidence must

possess probative value that is not substantially outweighed by its

undue prejudice.’” United States v. Barber, 147 Fed. Appx. 941, 945

(11th Cir. 2005)(citing United States v. Matthews, 411 F.3d 1210,

1224 n.14 (11th Cir. 2005).

      Prior to trial, the government gave notice that it intended to

introduce 404(b) evidence regarding Dominguez’s past involvement

with a marijuana cultivation house.          The government intended to

introduce this evidence through a police officer who investigated

the   operation     and    Dominguez’s     co-defendant,    who    allegedly

distributed marijuana for Dominguez from the house.                Dominguez

filed a motion objecting to introduction of the 404(b) evidence.

The Court considered the notice and response and, immediately

before   trial,   orally    ruled   that   the   Court   would    permit   the

government to introduce the 404(b) evidence.             On the record, the

Court recognized the above referenced three prong test and found
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the test was satisfied.           Specifically, the Court found the 404(b)

evidence was relevant to Dominguez’s intent to engage in the crimes

charged   and    that    the   prejudicial      value    did   not    outweigh    the

probative value as to Dominguez’s intent.                So finding, the Court

relied upon United States v. Wright, 164 Fed. Appx. 809 (11th Cir.

2006).

      In Wright, the defendant appealed his conviction and sentence

for conspiracy to possess with intent to distribute cocaine and

possession with intent to distribute cocaine. Id. at 811.                     As part

of its case in chief, the government placed an officer Heck on the

stand.    Id.     Heck testified as to a 1997 drug investigation he

conducted into the Wright defendant.             Id. at 811.         Citing 404(b),

the Wright defendant argued that the Court erred in allowing Heck

to testify as to the past drug investigation.                   Addressing these

arguments,      the    Eleventh    Circuit   questioned        whether    the    acts

investigated      were     even     extrinsic     acts     subject       to   404(b)

requirements.         Moving beyond this inquiry, the Eleventh Circuit

found that, even if the activities investigated in 1997 were

considered extrinsic acts, they would be admissible pursuant to

404(b). Wright, 164 Fed. Appx. at 813.                   The Wright facts are

similar to the present facts.          As in Wright, and in accordance with

the Court’s earlier ruling, the Court finds that the evidence of

Dominguez’s involvement in the marijuana cultivation house is

relevant to Dominguez’s intent to engage in the charged counts and

the evidence’s probative value is not substantially outweighed by
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its prejudicial effect.

       In its analysis, the Court found that sufficient proof existed

for the jury to find that Dominguez committed the extrinsic act,

the second prong in the three prong analysis to determine the

admissibility of 404(b) evidence.

       As proffered in the government’s 404(b) notice, at trial,

Dominguez’s co-defendant, Morales, testified that he distributed

marijuana for Dominguez from the cultivation house.              The Eleventh

Circuit has found that a co-defendant’s testimony can provide

sufficient proof that the defendant participated in the extrinsic

act.    United States v. Holmes, No. 05-11060, 2006 U.S.App.LEXIS

5081,   at   *12    (11th   Cir.    February      28,   2006)(“the   government

presented sufficient evidence, in the form of [co-defendant's]

testimony, from which a jury could find that [defendant] committed

the prior [extrinsic act].”           As such, Morales’s testimony was

sufficient    for   a   jury   to   find   that    Dominguez   was   previously

involved with the operation of the marijuana cultivation house.

Thus, the evidence relating to Dominguez’s participation in the

marijuana cultivation house was admissible.

       B. Jury Instruction

       Dominguez proposed that the following definition of the term

marijuana plant be included in the offense instructions:

       In order to be considered a “marijuana plant” as defined
       within   these   instructions,   it   must   have   three
       characteristic components readily apparent to a person’s
       eye: roots, stems, and leaves. Until a cutting develops
       roots of their own, it is not a plant but a mere piece of
       some other plant. Therefore, cuttings and seedlings are
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      not considered marijuana plants unless there is some
      readily observable evidence of root formation.

At the charging conference, the Court heard arguments on this issue

and determined not to use the proposed instruction.

      “A district court has broad discretion in formulating jury

instructions.” Christopher v. Cutter, 53 F.3d 1184, 1191 (11th Cir

1995).   New trials are properly granted when the jury instructions

“do not accurately reflect the law, and the instructions as a whole

do not correctly instruct the jury . . . [so as to create] ‘a

substantial and ineradicable doubt as to whether the jury was

properly guided in its deliberations.’” Broaddus v. Fla. Power

Corp., 145 F.3d 1283, 1288 (quoting Carter v. Decisionone Corp.,

122 F.3d 997, 1005 (11th Cir. 1997).       Here, the Court does not find

that the refusal to provide the definition of marijuana rendered

the instructions inadequate.

      “[A] trial court is not required to define terms which are

reasonably within the common understanding of a juror.” United

States v. Crockett, 206 F.2d 759, 762 (5th Cir. 1975)(citing Bohn

v. United States, 260 F.2d 773, 779 (8th Cir. 1958)); see also

United   States    v.   Lignarolo,   770   F.2d   971,   980   (11th   Cir.

1985)(finding that the exclusion of a defense instruction defining

“distribute” was not error as it is a common term that is easily

understood).      Deciphering the intended definition of marijuana

plant in 21 U.S.C. § 841, the statute Dominguez was convicted of

violating, courts have found that Congress did not intend to attach

a special definition to the term plant. United States v. Eves, 932
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F.2d 856, 860 (10th Cir. 1991).                In Eves,1 the court found that

“Congress intended ‘plant’ to be construed . . . by its plain and

ordinary dictionary meaning.” Id.              The Eves Court also found that

, to determine whether the alleged plant is a plant, “[n]o expert

need       testify,   no    experiments    with   instrumentation     to    monitor

whether       gaseous      exchange   is   occurring   need   be   conducted,   no

elaborate trimester or viability system need be established.” Id.

Moreover, in closing arguments, Dominguez encouraged the jury to

follow their common sense in determining whether the alleged plants

were actually plants.           For these reasons, the Court finds that the

definition       of     the    word    plant    was    in   the    jury’s   common

understanding, and the exclusion of Dominguez’s proposed definition

did not render the instructions inadequate.

       Accordingly, it is now

       ORDERED, ADJUDGED, and DECREED:

       The Motion for New Trial (Doc. #123) is DENIED.

       DONE AND ORDERED at Fort Myers, Florida, this 21st day of

June, 2006.




       1
      Dominguez cites United States v. Foree, 43 F.3d 1572 (11th
Cir. 1995), as support for his proposed definition of marijuana
plant. In Foree, the Eleventh Circuit cites Eves with approval.
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